                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

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VIRGINIA L. GIUFFRE,

         Plaintiff,
v.                                                                                       15-cv-07433-RWS




                                                              ......
GHISLAINE MAXWELL,

         Defendant.


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                          Declaration Of Jeffrey S. Pagliuca In Support Of
     Defendant’s Response in Opposition to Plaintiff’s Motion to Enforce the Court’s Order
            and Direct Defendant to Answer Deposition Questions Filed Under Seal


         I, Jeffrey S. Pagliuca, declare as follows:

         1.      I am an attorney at law duly licensed in the State of Colorado and admitted to

practice in the United States District Court for the Southern District of New York pro hac vice. I

am a member of the law firm Haddon, Morgan & Foreman, P.C., counsel of record for

Defendant Ghislaine Maxwell (“Maxwell”) in this action. I respectfully submit this declaration

in support of Response In Opposition to Plaintiff’s Motion to Enforce the Court’s Order and

Direct Defendant to Answer Deposition Questions Filed Under Seal.

         2.      Attached as Exhibit A (filed under seal) are true and correct copies of excerpts

from the deposition of Virginia Giuffre, designated as Confidential under the Protective Order.

         3.      Attached as Exhibit B are true and correct copies of Bates stamped documents

GM_00523-00528.
         4.    Attached as Exhibit C (filed under seal) are true and correct copies of excerpts

from the April 22, 2016 deposition of Ghislaine Maxwell, designated as Confidential under the

Protective Order.

         5.    Attached as Exhibit D (filed under seal) is a true and correct copy of the July 22,

2016 deposition of Ghislaine Maxwell, designated as Confidential under the Protective Order.

         6.    Attached as Exhibit E (filed under seal) are true and correct copies of excerpts

from the deposition of                  , designated as Confidential under the Protective Order.

         7.    Attached as Exhibit F (filed under seal) are true and correct copies of excerpts

from the deposition of Detective Joseph Recarey designated as Confidential under the Protective

Order.

         8.    Attached as Exhibit G (filed under seal) are true and correct copies of excerpts

from the deposition of Juan Alessi, designated as Confidential under the Protective Order.

         9.    Attached as Exhibit H (filed under seal) are true and correct copies of excerpts

from the deposition of                , designated as Confidential under the Protective Order.

         10.   Attached as Exhibit I (filed under seal) are true and correct copies of excerpts

from the deposition of                , designated as Confidential under the Protective Order.



Dated: August 8, 2016

                                                 By: /s/ Jeffrey S. Pagliuca
                                                 Jeffrey S. Pagliuca




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                                CERTIFICATE OF SERVICE

        I certify that on August 8, 2016, I electronically served this Declaration Of Jeffrey S.
Pagliuca In Support Of Defendant’s Response in Opposition to Plaintiff’s Motion to Enforce the
Court’s Order and Direct Defendant to Answer Deposition Questions Filed Under Seal via ECF
on the following:

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                                                 /s/ Nicole Simmons
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